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8
                          UNITED STATES DISTRICT COURT
9
                          FOR THE DISTRICT OF COLORADO
10
       GARY GEISERT,                    ) Case No.
11
                                        )
12     Plaintiff,                       ) COMPLAINT FOR
13                                      )   1. VIOLATION OF FEDERAL
              vs.                       )       FAIR DEBT COLLECTION
14
                                        )       PRACTICES ACT, AND
15     DIVERSIFIED CONSULTANTS,         )   2. TELEPHONE CONSUMER
       INC.,                            )       PROTECTION ACT
16
                                        )
17     Defendant.                       )
18
       ________________________________ )

19
                                    I. INTRODUCTION
20           1. This is an action for damages brought by an individual consumer for
21
       Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
22

23     §1692, et seq. (hereinafter “FDCPA”), which prohibits debt collectors from
24
       engaging in abusive, deceptive, and unfair practices. Ancillary to the claims
25

26     above, Plaintiff further alleges claims for Defendant’s violations of the Telephone
27
       Consumer Protection Act., 47 U.S.C. §227, et seq. (hereinafter “TCPA”).
28
       ///


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1
                                        II. JURISDICTION
2
              2.    Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
3

4                                           III. PARTIES
5
              3.     Plaintiff, Gary Geisert (“Plaintiff”), is a natural person residing in
6

7      Spokane county in the state of Washington, and is a “consumer” as defined by the
8
       FDCPA, 15 U.S.C. §1692a(3). At all relevant times herein, Plaintiff was residing
9
       and received collection calls from Defendant while residing in El Paso County in
10

11     the state of Colorado.
12
              4.     At    all   relevant    times      herein,   Defendant,   DIVERSIFIED
13

14     CONSULTANTS, INC., (“Defendant”) was a company engaged, by use of the
15
       mails and telephone, in the business of collecting a debt from Plaintiff which
16

17
       qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5). Defendant regularly

18     attempts to collect debts alleged to be due another, and therefore is a “debt
19
       collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).
20

21                               IV. FACTUAL ALLEGATIONS
22
              5.     At various and multiple times prior to the filing of the instant
23

24     complaint, including within the one year preceding the filing of this complaint,
25
       Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.
26
              6.     Beginning in or around April of 2015, Defendant began making a
27

28     barrage of calls to Plaintiff.



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1              7.    Defendant contacted Plaintiff in a manner that would constitute
2
       harassment, annoyance, and abuse.
3

4              8.    Defendant caused Plaintiff’s telephone to ring in a manner that
5
       would constitute harassment.
6

7              9.    On or around July 22, 2015, Plaintiff sent a notice of representation
8
       to Defendant. Defendant has failed to respond at this time.
9
               10.   Furthermore, during all relevant times, Defendant used an
10

11     “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)(1), to
12
       place its repeated collection calls to Plaintiff seeking to collect the debt allegedly
13

14     owed.
15
               11.   Defendant’s calls constituted calls that were not for emergency
16
       purposes as defined by 47 U.S.C. § 227(b)(1)(A).
17

18
               12.   Defendant’s calls were placed to telephone number assigned to a
19
       cellular telephone service for which Plaintiff incur a charge for incoming calls
20
       pursuant to 47 U.S.C. §227(b)(1).
21

22
               13.   During all relevant times, Defendant did not have Plaintiff’s prior
23
       consent to be contacted via an “automated telephone dialing system”.
24

25
               14.   Defendant’s conduct violated the FDCPA in multiple ways,
26

27
       including but not limited to:

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                                             Complaint - 3
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1                        a) Causing Plaintiffs telephone to ring repeatedly or
2                           continuously with intent to harass, annoy or abuse
                            Plaintiff (§ 1692d(5));
3

4
                         b) Communicating with Plaintiff at times or places
5                           which were known or should have been known to
6
                            be inconvenient for Plaintiff (§1692c(a)(1)) ;and

7
                         c) Engaging in conduct the natural consequence of
8                           which is to harass, oppress, or abuse Plaintiff (§
9                           1692d)).
10
             15.      Defendant conduct violated the TCPA by:
11
                   a) using any automatic telephone dialing system or an artificial or pre-
12
                      recorded voice to any telephone number assigned to a paging
13                    service, cellular telephone service, specialized mobile radio service,
14                    or other radio common carrier service, or any service for which the
                      called party is charged for the call (47 USC §227(b)(A)(iii)).
15

16           16.      As a result of the above violations of the FDCPA and TCPA Plaintiff
17
       suffered and continues to suffer injury to Plaintiff’s feelings, personal
18

19
       humiliation, embarrassment, mental anguish and emotional distress, and
20     Defendant is liable to Plaintiff for Plaintiff’s actual damages, statutory damages,
21
       and costs and attorney’s fees.
22

23                          COUNT I: VIOLATION OF FAIR DEBT
24
                              COLLECTION PRACTICES ACT

25           17.      Plaintiff reincorporates by reference all of the preceding paragraphs.
26
       ///
27

28     ///



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1
                                  PRAYER FOR RELIEF
2
             WHEREFORE, Plaintiff respectfully prays that judgment be entered
3

4      against the Defendant for the following:
5
                   A.     Declaratory judgment that Defendant’s conduct
6

7                  violated the FDCPA;
8                  B.     Actual damages;
9                  C.     Statutory damages;
10                 D.     Costs and reasonable attorney’s fees; and,
11                 E.     For such other and further relief as may be just and proper.
12
                   COUNT II: VIOLATION OF TELEPHONE CONSUMER
13
                                    PROTECTION ACT
14
             18.   Plaintiff reincorporates by reference all of the preceding paragraphs.
15

16           19.   To the extent that Defendant’s actions, counted above, violated the
17
       TCPA, those actions were done knowingly and willfully
18

19
                                  PRAYER FOR RELIEF
20           WHEREFORE, Plaintiff respectfully prays that judgment be entered
21
       against the Defendant for the following:
22

23                 A.     Declaratory judgment that Defendant’s conduct
24                 violated the TCPA;
25                 B.     Actual damages;
26                 C.     Statutory damages for willful and negligent violations;
27                 D.     Costs and reasonable attorney’s fees,
28                 E.     For such other and further relief as may be just and proper.



                                            Complaint - 5
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1
                PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
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                  Respectfully submitted this 27th day of January, 2016.
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4                                    By:     /s Todd M. Friedman
5
                                             Todd M. Friedman
                                             Law Offices of Todd M. Friedman, P.C.
6                                            Attorney for Plaintiff
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                                           Complaint - 6
